Case 1:25-cv-00698-TSC   Document 14-6   Filed 03/12/25   Page 1 of 6




                Exhibit 6
       Case 1:25-cv-00698-TSC                 Document 14-6       Filed 03/12/25        Page 2 of 6




From: M cI ntosh, Chad                         >
Sent: Sunday, March 2, 2025 3:24 PM
To: Brown, Reg <reginald.brown@kirkland.com>
Cc: Dresner, Jeremy <jeremy.dresner@ kirkland.com>; Byrnes, John Thomas
<john.byrnes@kirkland.com>; Amidon, Eric                         >; Corlett, Thomas



Subject: Fw: Referral and Request for OIG Assistance



  This message is from an EXTERNAL SENDER
  Be cautious, particularly with links and attachments.


Attached, please find a copy of the correspondence I sent today to the EPA Office of Inspector General,
which high lights several of the egregious instances of misconduct regarding $20 billion GGRF
distributions that have been improperly funneled through your financial institution. If you were
previously unaware of attached letter's contents, th is communication serves to help bring you up to
date. As the Department of Justice and the Federal Bureau of Investigation continue their ongoing
investigation, EPA will cont inue our efforts to re-establish accountability and oversight over the GGRF,
which is riddled with self-dealing, conflicts of interest, extraordinarily unqualified recipients, improperly
reduced government oversight, and much more.

Chad McIntosh, P.E.
Acting Deputy Administrator
U.S. Environmental Protection Agency

From: M cI ntosh, Chad                                    >
Sent: Sunday, March 2,
To: Murley, Nicole
                                                                               >; Payne, James (Jim)

Subject: Referral and Request for OIG Assistance

Acting IG Murley,

Please find the attached Referra l and Request.

Thank you for your immediate attention.

Chad McIntosh, P.E.
Acting Deputy Administrator
U.S. Environmental Protection Agency
    Case 1:25-cv-00698-TSC              Document 14-6        Filed 03/12/25        Page 3 of 6




                                     THE ADMINISTRATOR
                                     WASHINGTON, D.C. 20460



Acting Deputy Administrator W.C. McIntosh
U.S. Environmental Protection Agency
1200 Pennsylvania Ave, NW
Washington, DC 20460


March 2, 2025


Office of Inspector General
1200 Pennsylvania Avenue, N .W.
Washington, DC 20460


Dear Acting Inspector General Murley:


I am formally referring to your office urgent and deeply concerning matters of financial
mismanagement, conflicts of interest, and oversight failures within the Greenhouse Gas
Reduction Fund (GGRF).


To restore integrity and public trust, the Environmental Protection Agency (EPA) has launched
certain oversight and accountability measures that still exist despite the GGRF being designed to
limit oversight. We have placed staff on administrative leave, begun a full assessment of internal
controls, and are cooperating with the Department of Justice (DOJ) and Federal Bureau of
Investigation (FBI) in their ongoing investigation.


Given the severity of the alleged misconduct, waste, conflicts of interest, and potential fraud
within the GGRF program, the Administrator is conducting a comprehensive review. Concurrent
investigations by the Department of Justice (DOJ) and Federal Bureau of Investigation {FBI) are
underway. In response to these developments, the financial institution has voluntarily paused
further disbursements, aligning with the ongoing investigation by DOJ and FBl's publicly reported
recommendation to freeze the funds. These decisive actions aim to safeguard federal funds and
ensure adherence to congressional intent.
     Case 1:25-cv-00698-TSC              Document 14-6           Filed 03/12/25      Page 4 of 6




5.ystemic Failures in Oversight of GGRF and Disturbing Public Information

Recent findings reveal a pattern of reckless financial management, blatant conflicts of interest,
astonishing sums of tax dollars awarded to unqualified recipients, and severe deficiencies in
regulatory oversight under the prior administration. The EPA Office of Inspector General (OIG)
plays a critical role in eliminating waste and abuse, and we stand with your office in our shared
mission to restore accountability and prevent further misuse of taxpayer dollars.


One of the most disturbing initial indicators of financial misconduct is a publicly circulated video
of a former Biden Administration EPA political appointee boasting that officials were "tossing gold
bars off the Titanic" - rushing to distribute billions in taxpayer dollars before the incoming
administration could review or halt improper disbursements. 1 Even more troubling, the official
implied that political favoritism influenced funding decisions, with expectations of securing
employment at grant-recipient organizations.


Documented Evidence of Potential Financial Misconduct
These are not hypothetical concerns; they are supported by troubling evidence that continues to
emerge of improper conduct, including:


1. Lack of EPA Oversight in GGRF Distribution

     •    A large private-sector financial institution was used as an external financial agent, holding
          $20 billion in taxpayer dollars - an unprecedented arrangement for EPA.
     •    Only eight prime recipients controlled all $20 billion, acting as pass-through entities to
          subrecipients- many of which were also structured as pass-throughs, raising serious
          concerns about transparency and accountability.
     •    The design of this scheme removed $20 billion from governmental oversight in the days,
          weeks, and months before a new administration took office.
     •    The unusual and apparently improper structure of the agreements governing the
          administration of the GGRF altogether excluded EPA from being a party to Account
          Control Agreements (ACAs) with subrecipients.

2. Conflicts of Interest and Political Favoritism

      •   Jahi Wise, the former director of the GGRF, personally oversaw a $5 billion grant to his
          previous employer, the Coalition for Green Capital -    without recusing himself.2



1
    https://www.youtube.com/watch?v=CblV6Ewz Kxg
        Case 1:25-cv-00698-TSC            Document 14-6          Filed 03/12/25        Page 5 of 6




    •     A $2 billion grant was awarded to Power Forward Communities, a new nonprofit with ties
          to Stacey Abrams, despite reporting only $100 in total revenue in 2023.2
    •     Young, Gifted & Green was awarded $20 million, even though its CEO applied for funding
          while serving on the White House Environmental Justice Advisory Council.3

3. Prime Recipients' Lack of Financial Competency

    •     Recipients were required to begin drawing down funds within 21 days even though EPA,
          apparently recognizing the lack of qualifications, deemed it necessary that the recipients
          complete training on "How to Develop a Budget" within 90 days.4
    •     The EPA itself determined that recipients lacked basic financial competency-yet
          allowed them to manage and distribute billions of taxpayer dollars.
    •     If an entity requires 90 days to learn how to create a budget, it cannot be trusted to start
          responsible distribution of taxpayer funds within 21 days.

These examples are the tip of the iceberg and suggest a deeply entrenched pattern of political
favoritism, lack of qualifications, and other possibly unlawful allocation of taxpayer funds.
Disturbingly, these cases likely represent only a fraction of broader issues.

Failure of Internal Controls & Structural Weaknesses in GGRF Management

Your predecessor testified before Congress last September, describing the GGRF's financial
structure as "fantastically complex:' 5 What we have uncovered since then raises even greater
concerns:

    •     Financial Agent Agreements, Account Control Agreements (ACAs), and Amended
          Account Control Agreements, signed in the final months (and in some cases just days) of
          the Biden Administration, reduced rather than enhanced EPA oversight.




2
  Thomas Catenacci , "DOGE Finds $2 Billion in Taxpayer Funds Earmarked for Stacey Abrams-Linked Group,"
Washington Free Beacon, last modified February 19, 2025, https://freebeacon.com/trump-
administration/billions-doge-found-parked-at-bank-earmarked-for-stacey-abrams-backed-green-group/.
3
  Thomas Catenacci, " Biden Environmental Justice Adviser Received Millions in Taxpayer Funds After
Personally Applying For EPA Grant," Washington Free Beacon, last modified February 24, 2025,
https://freebeacon.com/energy/biden-environmental-justice-adviser-received-millions-after-personally-
applying-for-epa-grant/.
4
  U.S. Environmental Protection Agency, "RAIN-2024-G01 ," EPA Grants, last modified March 4, 2024,
https://www.epa.gov/grants/rain-2024-g01 .
5
  U.S. House Committee on Energy and Commerce "Holding the Biden-Harris EPA Accountable for the
Radical Rush-to-Green Spending," https://www.youtube.com/watch?v=dkgMglo8g9g (34 minute mark), 19
September 2024.
      Case 1:25-cv-00698-TSC              Document 14-6          Filed 03/12/25        Page 6 of 6




      •   ACAs governing the GGRF appear to have been hastily amended, at the behest of GGRF
          recipients and without consideration, in the days leading up to Inauguration Day.
      •   EPA was not a party to the Account Control Agreements with subrecipients, allowing
          taxpayer dollars to be further distributed without proper agency oversight.
      •   The ironically named "Notice of Exclusive Control;' the ostensible purpose of which is to
          allow EPA to take control of accounts at the financial agent, grants prime recipients and
          subrecipients the ability to transfer funds to private financial institutions of their choosing
          outside the scope of the financial agent agreement. It would have been more appropriately
          called a Notice of Less Control given the manner in which it granted recipients more
          power over the disposition of the money and the status of their accounts prior to the
          amendment.
      •   Contract provisions appear to have been intentionally structured to weaken EPA oversight.

Immediate Action & Request for OIG Assistance

Given the magnitude and significant risks to taxpayer funds, I am formally requesting your
assistance with a comprehensive review of this arrangement and the issues involved. I value your
recommendations.


If your office requires additional resources to conduct a full investigation, please let us know
immediately. The EPA is committed to providing any necessary support to ensure a thorough and
independent review of the program.


While these issues can be fully investigated, we will continue to aggressively pursue enhanced
oversight, answers, and accountability. We stand firmly alongside the Office of the Inspector
General in our shared mission to eliminate waste, fraud, and abuse with the EPA. I look forward to
your recommendations.


                                                          Sincerely,

                                                         M~~
                                                          W.C. McIntosh
                                                          Acting Deputy Administrator
                                                          U.S. Environmental Protection Agency
cc:
          Lee Zeldin, Administrator, U.S. EPA
          James Payne, Acting General Counsel, U.S. EPA
          Eric Amidon, Chief of Staff, U.S. EPA
